              Case 2:07-cr-00314-KJM Document 106 Filed 01/08/10 Page 1 of 2


 1   BRUCE LOCKE (#177787)
     Moss & Locke
 2   555 University Avenue, Suite 170
     Sacramento, CA 95825
 3   (916) 569-0667
     (916) 569-0665 fax
 4   Attorneys for
     Enrique Morales
 5
 6                              IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                 No. CR. S-07-314 FCD
                                         )
 9                     Plaintiff,        )                 STIPULATION AND ORDER
                                         )                 CONTINUING THE STATUS
10                                       )                 CONFERENCE FROM JANUARY
           v.                            )                 11, 2010 TO MARCH 15, 2010 AT
11                                       )                 10:00 A.M.
     ENRIQUE MORALES, et. al.,           )
12                                       )
                       Defendants.       )
13   ____________________________________)
14          The defendants, by and through their attorneys, and the United States by and through its
15   attorney, Matthew Stegman, hereby stipulate that the Status Conference currently scheduled for
16   January 11, 2010 at 10:00 a.m., should be continued to March 15, 2010 at 10:00 a.m. The reason
17   for the continuance is that the defense needs additional time to review the discovery. Accordingly,
18   the time between January 11, 2010 and March 15, 2010 should be excluded from the Speedy Trial
19   calculation pursuant to Title 18 United States Code, Section 3161(h)(7)(B)(iv) and Local Code T-4
20   for defense preparation.     The parties stipulate that the ends of justice served by granting this
21   continuance outweigh the best interests of the public and the defendants in a speedy trial. 18 U.S.C.
22   §3161(h)(7)(A). Ms. Stegman and the other defense attorneys have authorized Mr. Locke to sign
23   this document for them.
24
25   DATED: January 7, 2010                                    /S/ Bruce Locke
                                                           BRUCE LOCKE
26                                                         Attorney for Enrique Morales
27
28
29                                                    1
              Case 2:07-cr-00314-KJM Document 106 Filed 01/08/10 Page 2 of 2


 1
 2
     DATED: January 7, 2010                                    /S/ Bruce Locke
 3                                                         MIGUEL ANGEL HERNANDEZ
                                                           Attorney for Jose Luis Morales
 4
 5   DATED: January 7, 2010                                    /S/ Bruce Locke
                                                           CLARENCE EMMETT MAHLE
 6                                                         Attorney for Juan Morales
 7
     DATED: January 7, 2010                                    /S/ Bruce Locke
 8                                                         TIMOTHY F. WARRINER
                                                           Attorney for Teresa Maria Morales
 9
10   DATED: January 7, 2010                                    /S/ Bruce Locke
                                                           DONALD P. DORFMAN
11                                                         Attorney for Petra Preciado Morales
12
     DATED: January 7, 2010                                   /S/ Bruce Locke
13                                                         For MATTHEW STEGMAN
                                                           Assistant United States Attorney
14
15
                                                   Order
16
            For the reasons stated in the parties' stipulation, the Court hereby orders that the status
17
     conference scheduled for January 11, 2010 is continued to March 15, 2010 at 10:00 a.m.
18
            The Court further finds that the interests of justice served by granting the continuance
19
     outweigh the best interests of the public and the defendant in a speedy trial. Therefore, time is
20
     excluded from the speedy trial calculation for counsel preparation under the Speedy Trial Act from
21
     January 11, 2010 until March 15, 2010 pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code
22
     T-4.
23
            IT IS SO ORDERED.
24
25   DATED: January 8, 2010
                                                           ___________________________________
26                                                         FRANK C. DAMRELL, JR.
                                                           UNITED STATES DISTRICT JUDGE
27
28
29                                                   2
